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                                           U.S. District Court
                              Western District of Pennsylvania (Johnstown)
                         CRIMINAL DOCKET FOR CASE #: 3:20-cr-00008-KRG-18


 Case title: USA v. WILLIAMS et al                                     Date Filed: 06/03/2020

                                                                       Date Terminated: 12/14/2021

 Assigned to: Judge Kim R. Gibson

 Defendant (18)
 TAMIR WASHINGTON-JENKINS                 represented by               R. Damien Schorr
 TERMINATED: 12/14/2021                                                1015 Irwin Drive
 also known as                                                         Pittsburgh, PA 15236
 MIR                                                                   (412) 884-1597
 TERMINATED: 12/14/2021 CERTIFIED FROM THE RECORD                      Email:
 also known as                                                         damienschorr@damienschorrlaw.com
 CHIP                          06/05/2023                              LEAD ATTORNEY
                           Brandy S. Lonchena
 TERMINATED: 12/14/2021                                                ATTORNEY TO BE NOTICED
                                                      Karen Sawdy      Designation: CJA Appointment
                                                        Deputy Clerk


 Pending Counts                                                        Disposition
                                                                       Defendant is sentenced at the Lesser
                                                                       Included Offense at Count One and at Count
 21 U.S.C. 846 CONSPIRACY TO                                           2 as follows: Defendant is committed to the
 DISTRIBUTE AND TO POSSESS WITH                                        custody of the Federal Bureau of Prisons to
 INTENT TO DISTRIBUTE 50 GRAMS                                         be imprisoned for a term of 27 months at
 OR MORE OF METHAMPHETAMINE,                                           Count One and 27 months at Count Two, to
 500 GRAMS OR MORE OF A MIXTURE                                        be served concurrently. Upon release from
 AND SUBSTANCE CONTAINING A                                            imprisonment, the Defendant shall be on
 DETECTABLE AMOUNT OF                                                  supervised release for a term of 3 years at
 METHAMPHETAMINE, 28 GRAMS OR                                          Count One and 3 years at Count Two, to be
 MORE OF COCAINE BASE, IN THE                                          served concurrently. Said term of supervised
 FORM COMMONLY KNOWN AS                                                release comes with standard and special
 CRACK, AND 40 GRAMS OR MORE OF                                        conditions of supervision, as more fully
 FENTANYL AND HEROIN                                                   stated in the Judgment. Defendant shall pay
 (1)                                                                   to the United States a Special Assessment of
                                                                       $200, which shall be paid to the United
                                                                       States District Court Clerk forthwith.
 18 U.S.C. 1956(h) CONSPIRACY TO                                       Defendant is sentenced at the Lesser
 COMMIT MONEY LAUNDERING                                               Included Offense at Count One and at Count
 (2)                                                                   2 as follows: Defendant is committed to the
                                                                       custody of the Federal Bureau of Prisons to
                                                                       be imprisoned for a term of 27 months at
                                                                       Count One and 27 months at Count Two, to
                                                                       be served concurrently. Upon release from
                                                                       imprisonment, the Defendant shall be on
                                                                       supervised release for a term of 3 years at
                                                                       Count One and 3 years at Count Two, to be

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                                                                  served concurrently. Said term of supervised
                                                                  release comes with standard and special
                                                                  conditions of supervision, as more fully
                                                                  stated in the Judgment. Defendant shall pay
                                                                  to the United States a Special Assessment of
                                                                  $200, which shall be paid to the United
                                                                  States District Court Clerk forthwith.

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                                 Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                        Disposition
 None



 Plaintiff
 USA                                                                 represented by Arnold P. Bernard , Jr.
                                                                                    U.S. Attorney's Office
                                                                                    319 Washington Street, Suite 200
                                                                                    Johnstown, PA 15901
                                                                                    814-533-4547
                                                                                    Fax: 814 533-4545
                                                                                    Email: arnold.bernard@usdoj.gov
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: US Govt Atty

                                                                                   Jill L Locnikar
                                                                                   DOJ-USAO
                                                                                   Civil
                                                                                   Joseph F. Weis, Jr. U.S. Courthouse
                                                                                   700 Grant Street
                                                                                   Ste 4000
                                                                                   Pitttsburgh, PA 15219
                                                                                   412-894-7429
                                                                                   Fax: 412-644-6995
                                                                                   Email: usapaw.locnikaraf@usdoj.gov
                                                                                   ATTORNEY TO BE NOTICED
                                                                                   Designation: US Govt Atty

  Date Filed               #      Docket Text
  06/03/2020                29 SEALED INDICTMENT as to JELAHN WILLIAMS (1) count(s) 1, 2, 3, ELLEN
                               BLYSTONE (2) count(s) 1, MALIK BYERS (3) count(s) 1, 2, ISAIAH DANIELS-
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                              WHEELER (4) count(s) 1, 2, AHMED DOUMBIA (5) count(s) 1, 2, 4, ADAM
                              DRYLIE (6) count(s) 1, JAMES EDWARDS (7) count(s) 1, 2, 5, HAYLEE JACKSON
                              (8) count(s) 1, ROMELLO JOHNSON-HOLLAND (9) count(s) 1, 2, JOY MCBRIDE
                              (10) count(s) 1, DAYTON MELTON (11) count(s) 1, ROGER MILLER (12) count(s)
                              1, MICHELE MONFREDI (13) count(s) 1, GREGORY MOORE (14) count(s) 1, 2,
                              KARL POLLARD (15) count(s) 1, 2, MICHAEL SCHRECENGOST (16) count(s) 1,
                              TAYLOR SHICK (17) count(s) 1, TAMIR WASHINGTON-JENKINS (18) count(s) 1,
                              2, CHRISTOFER WATERS (19) count(s) 1, 2. (Attachments: # 1 Arraignment Plea
                              WILLIAMS, # 2 Arraignment Plea BLYSTONE, # 3 Arraignment Plea BYERS, # 4
                              Arraignment Plea DANIELS-WHEELER, # 5 Arraignment Plea DOUMBIA, # 6
                              Arraignment Plea DRYLIE, # 7 Arraignment Plea EDWARDS, # 8 Arraignment Plea
                              JACKSON, # 9 Arraignment Plea JOHNSON-HOLLAND, # 10 Arraignment Plea
                              MCBRIDE, # 11 Arraignment Plea MELTON, # 12 Arraignment Plea MILLER, # 13
                              Arraignment Plea MONFREDI, # 14 Arraignment Plea MOORE, # 15 Arraignment
                              Plea POLLARD, # 16 Arraignment Plea SCHRECENGOST, # 17 Arraignment Plea
                              SHICK, # 18 Arraignment Plea WASHINGTON-JENKINS, # 19 Arraignment Plea
                              WATERS, # 20 Certification and Notice for Filing Pretrial Motions WILLIAMS, # 21
                              Certification and Notice for Filing Pretrial Motions BLYSTONE, # 22 Certification
                              and Notice for Filing Pretrial Motions BYERS, # 23 Certification and Notice for Filing
                              Pretrial Motions DANIELS-WHEELER, # 24 Certification and Notice for Filing
                              Pretrial Motions DOUMBIA, # 25 Certification and Notice for Filing Pretrial Motions
                              DRYLIE, # 26 Certification and Notice for Filing Pretrial Motions EDWARDS, # 27
                              Certification and Notice for Filing Pretrial Motions JACKSON, # 28 Certification and
                              Notice for Filing Pretrial Motions JOHNSON-HOLLAND, # 29 Certification and
                              Notice for Filing Pretrial Motions MCBRIDE, # 30 Certification and Notice for Filing
                              Pretrial Motions MELTON, # 31 Certification and Notice for Filing Pretrial Motions
                              MILLER, # 32 Certification and Notice for Filing Pretrial Motions MONFREDI, # 33
                              Certification and Notice for Filing Pretrial Motions MOORE, # 34 Certification and
                              Notice for Filing Pretrial Motions POLLARD, # 35 Certification and Notice for Filing
                              Pretrial Motions SCHRECENGOST, # 36 Certification and Notice for Filing Pretrial
                              Motions SHICK, # 37 Certification and Notice for Filing Pretrial Motions
                              WASHINGTON-JENKINS, # 38 Certification and Notice for Filing Pretrial Motions
                              WATERS, # 39 Criminal Case Info Sheet WILLIAMS, # 40 Criminal Case Info Sheet
                              BLYSTONE, # 41 Criminal Case Info Sheet BYERS, # 42 Criminal Case Info Sheet
                              DANIELS-WHEELER, # 43 Criminal Case Info Sheet DOUMBIA, # 44 Criminal
                              Case Info Sheet DRYLIE, # 45 Criminal Case Info Sheet EDWARDS, # 46 Criminal
                              Case Info Sheet JACKSON, # 47 Criminal Case Info Sheet JOHNSON-HOLLAND, #
                              48 Criminal Case Info Sheet MCBRIDE, # 49 Criminal Case Info Sheet MELTON, #
                              50 Criminal Case Info Sheet MILLER, # 51 Criminal Case Info Sheet MONFREDI, #
                              52 Criminal Case Info Sheet MOORE, # 53 Criminal Case Info Sheet POLLARD, #
                              54 Criminal Case Info Sheet SCHRECENGOST, # 55 Criminal Case Info Sheet
                              SHICK, # 56 Criminal Case Info Sheet WASHINGTON-JENKINS, # 57 Criminal
                              Case Info Sheet WATERS) (jjg) (Entered: 06/04/2020)
  06/03/2020                30 Indictment MEMORANDUM as to JELAHN WILLIAMS, ELLEN BLYSTONE,
                               MALIK BYERS, ISAIAH DANIELS-WHEELER, AHMED DOUMBIA, ADAM
                               DRYLIE, JAMES EDWARDS, HAYLEE JACKSON, ROMELLO JOHNSON-
                               HOLLAND, JOY MCBRIDE, DAYTON MELTON, ROGER MILLER, MICHELE
                               MONFREDI, GREGORY MOORE, KARL POLLARD, MICHAEL
                               SCHRECENGOST, TAYLOR SHICK, TAMIR WASHINGTON-JENKINS,
                               CHRISTOFER WATERS (jjg) (Entered: 06/04/2020)
  06/03/2020                31 MOTION to Seal Indictment and Arrest Warrants, by USA as to JELAHN
                               WILLIAMS, MALIK BYERS, AHMED DOUMBIA, DAYTON MELTON,
                               ROMELLO JOHNSON-HOLLAND, ISAIAH DANIELS-WHEELER, ELLEN
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                              BLYSTONE, ADAM DRYLIE, JAMES EDWARDS, HAYLEE JACKSON, JOY
                              MCBRIDE, ROGER MILLER, MICHELE MONFREDI, GREGORY MOORE,
                              KARL POLLARD, MICHAEL SCHRECENGOST, TAYLOR SHICK, TAMIR
                              WASHINGTON-JENKINS, CHRISTOFER WATERS. (jjg) (Entered: 06/04/2020)
  06/03/2020                32 ORDER granting 31 Motion to Seal Indictment and Arrest Warrants as to JELAHN
                               WILLIAMS (1), ELLEN BLYSTONE (2), MALIK BYERS (3), ISAIAH DANIELS-
                               WHEELER (4), AHMED DOUMBIA (5), ADAM DRYLIE (6), JAMES EDWARDS
                               (7), HAYLEE JACKSON (8), ROMELLO JOHNSON-HOLLAND (9), JOY
                               MCBRIDE (10), DAYTON MELTON (11), ROGER MILLER (12), MICHELE
                               MONFREDI (13), GREGORY MOORE (14), KARL POLLARD (15), MICHAEL
                               SCHRECENGOST (16), TAYLOR SHICK (17), TAMIR WASHINGTON-JENKINS
                               (18), CHRISTOFER WATERS (19). Signed by Magistrate Judge Keith A. Pesto on
                               06/03/20. (jjg) (Entered: 06/04/2020)
  06/11/2020                      ORAL MOTION to Unseal Case by USA as to JELAHN WILLIAMS, MALIK
                                  BYERS, AHMED DOUMBIA, DAYTON MELTON, ROMELLO JOHNSON-
                                  HOLLAND, ISAIAH DANIELS-WHEELER, ELLEN BLYSTONE, ADAM
                                  DRYLIE, JAMES EDWARDS, HAYLEE JACKSON, JOY MCBRIDE, ROGER
                                  MILLER, MICHELE MONFREDI, GREGORY MOORE, KARL POLLARD,
                                  MICHAEL SCHRECENGOST, TAYLOR SHICK, TAMIR WASHINGTON-
                                  JENKINS, CHRISTOFER WATERS. (plp) (Entered: 06/11/2020)
  06/11/2020                66 TEXT ORDER granting Motion to Unseal Case as to JELAHN WILLIAMS (1),
                               ELLEN BLYSTONE (2), MALIK BYERS (3), ISAIAH DANIELS-WHEELER (4),
                               AHMED DOUMBIA (5), ADAM DRYLIE (6), JOY MCBRIDE (10), DAYTON
                               MELTON (11), ROGER MILLER (12), MICHELE MONFREDI (13), GREGORY
                               MOORE (14), KARL POLLARD (15), MICHAEL SCHRECENGOST (16), TAYLOR
                               SHICK (17), TAMIR WASHINGTON-JENKINS (18), CHRISTOFER WATERS (19).
                               Signed by Magistrate Judge Keith A. Pesto on 6/11/2020. Text-only entry; no PDF will
                               issue. This Text-only entry constitutes the Order of the Court or Notice on the matter.
                               (plp) (Entered: 06/11/2020)
  06/19/2020              120 MOTION for Protective Order for Rule 16 Discovery Materials by USA as to
                              JELAHN WILLIAMS, MALIK BYERS, AHMED DOUMBIA, DAYTON MELTON,
                              ROMELLO JOHNSON-HOLLAND, ISAIAH DANIELS-WHEELER, ELLEN
                              BLYSTONE, ADAM DRYLIE, JAMES EDWARDS, HAYLEE JACKSON, JOY
                              MCBRIDE, ROGER MILLER, MICHELE MONFREDI, GREGORY MOORE,
                              KARL POLLARD, MICHAEL SCHRECENGOST, TAYLOR SHICK, TAMIR
                              WASHINGTON-JENKINS, CHRISTOFER WATERS. Motion(s) referred to Keith A.
                              Pesto. (Attachments: # 1 Proposed Order) (Bernard, Arnold) (Entered: 06/19/2020)
  06/22/2020              134 CJA 20 ORDER Appointing Counsel as to TAMIR WASHINGTON-JENKINS:
                              Appointment of Attorney R. Damien Schorr for TAMIR WASHINGTON-JENKINS.
                              Signed by Magistrate Judge Keith A. Pesto on 6/9/2020. (plp) (Entered: 06/22/2020)
  06/23/2020              138 PROTECTIVE ORDER as to JELAHN WILLIAMS, MALIK BYERS, AHMED
                              DOUMBIA, DAYTON MELTON, ROMELLO JOHNSON-HOLLAND, ISAIAH
                              DANIELS-WHEELER, ELLEN BLYSTONE, ADAM DRYLIE, JAMES EDWARDS,
                              HAYLEE JACKSON, JOY MCBRIDE, ROGER MILLER, MICHELE MONFREDI,
                              GREGORY MOORE, KARL POLLARD, MICHAEL SCHRECENGOST, TAYLOR
                              SHICK, TAMIR WASHINGTON-JENKINS, CHRISTOFER WATERS. Signed by
                              Magistrate Judge Keith A. Pesto on 6/23/2020. (plp) (Entered: 06/23/2020)
  06/24/2020              140 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not Guilty by
                              TAMIR WASHINGTON-JENKINS. (plp) (Entered: 06/24/2020)

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  07/09/2020              173 MOTION to Modify 138 Order, Protective Order by TAMIR WASHINGTON-
                              JENKINS. (Attachments: # 1 Proposed Order) (Schorr, R.) (Entered: 07/09/2020)
  07/10/2020              176 Receipt for Local Rule 16.1 Material as to TAMIR WASHINGTON-JENKINS
                              (Bernard, Arnold) (Entered: 07/10/2020)
  07/17/2020              180 MOTION for Protective Order and Authorization to Disclose Sealed Materials by
                              USA as to JELAHN WILLIAMS, MALIK BYERS, AHMED DOUMBIA, DAYTON
                              MELTON, ROMELLO JOHNSON-HOLLAND, ISAIAH DANIELS-WHEELER,
                              ELLEN BLYSTONE, ADAM DRYLIE, JAMES EDWARDS, HAYLEE JACKSON,
                              JOY MCBRIDE, ROGER MILLER, MICHELE MONFREDI, GREGORY MOORE,
                              KARL POLLARD, MICHAEL SCHRECENGOST, TAYLOR SHICK, TAMIR
                              WASHINGTON-JENKINS, CHRISTOFER WATERS. Motion(s) referred to Keith A.
                              Pesto. (Attachments: # 1 Proposed Order) (Bernard, Arnold) (Entered: 07/17/2020)
  07/21/2020              182 Amended MOTION for Protective Order and Authorization to Disclose Sealed
                              Materials by USA as to JELAHN WILLIAMS, MALIK BYERS, AHMED
                              DOUMBIA, DAYTON MELTON, ROMELLO JOHNSON-HOLLAND, ISAIAH
                              DANIELS-WHEELER, ELLEN BLYSTONE, ADAM DRYLIE, JAMES EDWARDS,
                              HAYLEE JACKSON, JOY MCBRIDE, ROGER MILLER, MICHELE MONFREDI,
                              GREGORY MOORE, KARL POLLARD, MICHAEL SCHRECENGOST, TAYLOR
                              SHICK, TAMIR WASHINGTON-JENKINS, CHRISTOFER WATERS. Motion(s)
                              referred to Keith A. Pesto. (Attachments: # 1 Proposed Order) (Bernard, Arnold)
                              (Entered: 07/21/2020)
  07/21/2020              183 ORDER granting 182 Motion for Protective Order as more fully stated. Signed by
                              Magistrate Judge Keith A. Pesto on 7/21/2020. (plp) (Entered: 07/21/2020)
  08/25/2020              239 MOTION for Extension of Time to File Pretrial Motions Nunc Pro Tunc by TAMIR
                              WASHINGTON-JENKINS. (Attachments: # 1 Proposed Order) (Schorr, R.) (Entered:
                              08/25/2020)
  08/25/2020              240 ORDER granting 239 Motion for Extension of Time to File Pretrial Motions Nunc Pro
                              Tunc as to TAMIR WASHINGTON-JENKINS (18); and it is further Ordered that the
                              deadline for filing pretrial motions is extended until 11/9/2020; and it is further
                              Ordered that the period of delay from 7/8/2020 until 11/9/2020 shall be deemed
                              excludable delay under the Speedy Trial Act. Signed by Judge Kim R. Gibson on
                              8/25/2020. (dlg) (Entered: 08/25/2020)
  12/14/2020              320 PRETRIAL ORDER (JURY TRIAL) as to JELAHN WILLIAMS, MALIK BYERS,
                              AHMED DOUMBIA, DAYTON MELTON, ROMELLO JOHNSON-HOLLAND,
                              ISAIAH DANIELS-WHEELER, ELLEN BLYSTONE, ADAM DRYLIE, JAMES
                              EDWARDS, HAYLEE JACKSON, JOY MCBRIDE, ROGER MILLER, MICHELE
                              MONFREDI, GREGORY MOORE, KARL POLLARD, MICHAEL
                              SCHRECENGOST, TAYLOR SHICK, TAMIR WASHINGTON-JENKINS,
                              CHRISTOFER WATERS - it is hereby ORDERED as follows: Trial in this matter is
                              now scheduled to begin on 2/8/2021. The Pretrial Conference is scheduled for
                              1/8/2021, at 11:00 a.m. The time from 11/18/2020 through 2/8/2021 is deemed
                              excludable delay under the Speedy Trial Act, and as more fully stated in said Pretrial
                              Order. Signed by Judge Kim R. Gibson on 12/14/2020. (dlg) (Entered: 12/14/2020)
  01/05/2021              337 AMENDED PRETRIAL ORDER (JURY TRIAL) as to JELAHN WILLIAMS,
                              MALIK BYERS, AHMED DOUMBIA, DAYTON MELTON, ROMELLO
                              JOHNSON-HOLLAND, ISAIAH DANIELS-WHEELER, ELLEN BLYSTONE,
                              ADAM DRYLIE, JAMES EDWARDS, HAYLEE JACKSON, JOY MCBRIDE,
                              ROGER MILLER, MICHELE MONFREDI, GREGORY MOORE, KARL
                              POLLARD, MICHAEL SCHRECENGOST, TAYLOR SHICK, TAMIR
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                              WASHINGTON-JENKINS, CHRISTOFER WATERS - Upon consideration of
                              Defendant Isiah Daniels-Wheeler's "Unopposed Motion to Continue Trial Date" (ECF
                              No. 321 ), Defendant Adam Drylies's "Motion to Postpone and Reschedule Trial, the
                              Pretrial Conference and All Trial Related Deadlines" (ECF No. 332 ), and Defendant
                              Jelahn Wiliams's "Motion to Continue Due Dates for Motions in Limine, Witness Lists,
                              Exhibits, Voir Dire, Points for Charge, and to Continue Pretrial Conference and Trial"
                              (ECF No. 334 ), it is hereby Ordered as follows: Trial in this matter is now scheduled
                              to begin on 5/3/2021. The Pretrial Conference is scheduled for 4/12/2021, at 11:30 a.m.
                              The time from 1/4/2021 through 5/3/2021 is deemed excludable delay under the
                              Speedy Trial Act, and as more fully stated in said Amended Pretrial Order. Signed by
                              Judge Kim R. Gibson on 1/5/2021. (dlg) (Entered: 01/05/2021)
  04/08/2021              387 AMENDED PRETRIAL ORDER (JURY TRIAL) as to JELAHN WILLIAMS,
                              MALIK BYERS, AHMED DOUMBIA, DAYTON MELTON, ROMELLO
                              JOHNSON-HOLLAND, ISAIAH DANIELS-WHEELER, ELLEN BLYSTONE,
                              ADAM DRYLIE, JAMES EDWARDS, HAYLEE JACKSON, JOY MCBRIDE,
                              ROGER MILLER, MICHELE MONFREDI, GREGORY MOORE, KARL
                              POLLARD, MICHAEL SCHRECENGOST, TAYLOR SHICK, TAMIR
                              WASHINGTON-JENKINS, CHRISTOFER WATERS - Upon consideration of
                              Defendant Dayton Melton's "Motion to Postpone and Schedule Trial, Pretrial
                              Conference and All Trial Related Deadlines" (ECF No. 386 ), it is hereby Ordered as
                              follows: Trial in this matter is scheduled to begin on 8/16/2021. The Pretrial
                              Conference shall be held on 7/9/2021, at 2:00 p.m. The time from 4/8/2021 through
                              8/16/2021 is deemed excludable delay under the Speedy Trial Act, and as more fully
                              stated in said Amended Pretrial Order. Signed by Judge Kim R. Gibson on 4/8/2021.
                              (dlg) (Entered: 04/08/2021)
  04/20/2021                      NOTICE OF HEARING as to TAMIR WASHINGTON-JENKINS - A Change of Plea
                                  Hearing is scheduled for May 7, 2021, at 10:00 a.m. before Judge Kim R. Gibson. This
                                  hearing will be conducted via Zoom Videoconference. Text-only entry. No PDF
                                  document will issue. This text-only entry constitutes the Order of the Court or Notice
                                  on the matter. (dlg) (Entered: 04/20/2021)
  05/07/2021              420 MOTION to Continue Change of Plea Hearing by USA as to TAMIR
                              WASHINGTON-JENKINS. (Attachments: # 1 Proposed Order) (Bernard, Arnold)
                              (Entered: 05/07/2021)
  05/07/2021              421 ORDER granting 420 Motion to Continue Change of Plea Hearing as to TAMIR
                              WASHINGTON-JENKINS (18). The Change of Plea Hearing in this matter is hereby
                              RESCHEDULED to: August 11, 2021, at 1:30 p.m. Signed by Judge Kim R. Gibson
                              on 5/7/2021. (dlg) (Entered: 05/07/2021)
  07/07/2021              459 AMENDED PRETRIAL ORDER (JURY TRIAL) as to JELAHN WILLIAMS,
                              MALIK BYERS, AHMED DOUMBIA, DAYTON MELTON, ROMELLO
                              JOHNSON-HOLLAND, ISAIAH DANIELS-WHEELER, ELLEN BLYSTONE,
                              ADAM DRYLIE, JAMES EDWARDS, HAYLEE JACKSON, JOY MCBRIDE,
                              ROGER MILLER, MICHELE MONFREDI, GREGORY MOORE, KARL
                              POLLARD, MICHAEL SCHRECENGOST, TAYLOR SHICK, TAMIR
                              WASHINGTON-JENKINS, CHRISTOFER WATERS - Upon consideration of
                              Defendant Kelvin Morris's "Motion to Continue Pretrial Conference, Trial, and to
                              Extend Trial Related Deadlines" (ECF No. 453 ), IT IS HEREBY ORDERED as
                              follows:Trial in this matter is scheduled to begin on 11/1/2021. The Pretrial
                              Conference shall be held on 10/6/2021, at 10:00 a.m. The time from 7/7/2021 through
                              11/1/2021 is deemed excludable delay under the Speedy Trial Act, and as more fully
                              stated in said Amended Pretrial Order. Signed by Judge Kim R. Gibson on 7/7/2021.
                              (dlg) (Entered: 07/07/2021)
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  08/12/2021              492 Minute Entry for proceedings held before Judge Kim R. Gibson: Change of Plea
                              Hearing as to TAMIR WASHINGTON-JENKINS held on 8/11/2021. Counsel entered
                              their appearances. Defendant was sworn. Defendant and counsel waived their
                              appearances and consented to proceeding with the Zoom Video Conference. Defendant
                              wished to plead guilty to a lesser included offense at Count 1 and to Count 2 of the
                              Indictment. There is a Plea Agreement in this case. Jury trial rights and maximum
                              penalties given. The Change of Plea form was signed by Defendant and Attorney
                              Schorr. Sentencing is set for December 13, 2021, at 10:00 a.m. The Court Orders
                              Defendant shall remain on bond under the same conditions as are currently in effect
                              pending sentencing. (Court Reporter: Shirley Hall) (Attachments: # 1 Plea Agreement)
                              (dlg) (Entered: 08/12/2021)
  08/12/2021              493 GUILTY PLEA ENTERED: Defendant withdraws plea of not guilty and pleads guilty
                              to a lesser included offense at Count 1 and to Count 2 of the Indictment as to TAMIR
                              WASHINGTON-JENKINS on 8/11/2021. (dlg) (Entered: 08/12/2021)
  08/12/2021              494 HIGHLY SENSITIVE DOCUMENT as to TAMIR WASHINGTON-JENKINS. HSD
                              category: SUP. (dlg) (Entered: 08/12/2021)
  08/13/2021              497 PRESENTENCE ORDER as to TAMIR WASHINGTON-JENKINS: Tentative
                              Presentence Report due by 10/18/2021. Presentence Report due by 11/8/2021. Position
                              with Respect to Sentencing Factors due by 11/15/2021. Presentence Report Addendum
                              due to this Court, defendant and counsel by 11/29/2021. Supplemental Information or
                              Memorandum with Respect to Sentencing due by 12/6/2021. Sentencing is set for
                              12/13/2021, at 10:00 AM in Courtroom A - Johnstown before Judge Kim R. Gibson.
                              Signed by Judge Kim R. Gibson on 8/13/2021. (dlg) (Entered: 08/13/2021)
  10/05/2021              512 AMENDED PRETRIAL ORDER (JURY TRIAL) as to JELAHN WILLIAMS,
                              MALIK BYERS, AHMED DOUMBIA, DAYTON MELTON, ROMELLO
                              JOHNSON-HOLLAND, ISAIAH DANIELS-WHEELER, ELLEN BLYSTONE,
                              ADAM DRYLIE, JAMES EDWARDS, HAYLEE JACKSON, JOY MCBRIDE,
                              ROGER MILLER, MICHELE MONFREDI, GREGORY MOORE, KARL
                              POLLARD, MICHAEL SCHRECENGOST, TAYLOR SHICK, TAMIR
                              WASHINGTON-JENKINS, CHRISTOFER WATERS - Upon consideration of
                              Defendant Jelahn Williams' Motion to Continue Due Dates for Motions in Limine,
                              Witness Lists, Exhibits, Voir Dire, Points for Charge, and to Continue Pretrial
                              Conference and Trial (ECF No. 510 ), IT IS HEREBY ORDERED as follows: Trial in
                              this matter is scheduled to begin on 1/10/2022. The pretrial conference shall be held on
                              12/10/2021, at 10:00 a.m. The time from 10/4/2021 through 1/10/2022 is deemed
                              excludable delay under the Speedy Trial Act, and as more fully stated in said Amended
                              Pretrial Order. Signed by Judge Kim R. Gibson on 10/5/2021. (dlg) (Entered:
                              10/05/2021)
  10/25/2021              532 SEALED ORDER as to TAMIR WASHINGTON-JENKINS. Signed by Judge Kim R.
                              Gibson on 10/25/2021. (dlg) (Entered: 10/25/2021)
  11/15/2021              546 POSITION WITH RESPECT TO SENTENCING FACTORS by USA as to TAMIR
                              WASHINGTON-JENKINS. (Bernard, Arnold) (Entered: 11/15/2021)
  11/15/2021              547 POSITION WITH RESPECT TO SENTENCING FACTORS by TAMIR
                              WASHINGTON-JENKINS. (Schorr, R.) (Entered: 11/15/2021)
  12/06/2021              566 SENTENCING MEMORANDUM by TAMIR WASHINGTON-JENKINS (Schorr, R.)
                              (Entered: 12/06/2021)
  12/06/2021              567 MOTION for Downward Variance by TAMIR WASHINGTON-JENKINS.
                              (Attachments: # 1 Proposed Order) (Schorr, R.) (Entered: 12/06/2021)
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  12/06/2021              568 AMENDED PRETRIAL ORDER (JURY TRIAL) as to JELAHN WILLIAMS,
                              MALIK BYERS, AHMED DOUMBIA, DAYTON MELTON, ROMELLO
                              JOHNSON-HOLLAND, ISAIAH DANIELS-WHEELER, ELLEN BLYSTONE,
                              ADAM DRYLIE, JAMES EDWARDS, HAYLEE JACKSON, JOY MCBRIDE,
                              ROGER MILLER, MICHELE MONFREDI, GREGORY MOORE, KARL
                              POLLARD, MICHAEL SCHRECENGOST, TAYLOR SHICK, TAMIR
                              WASHINGTON-JENKINS, CHRISTOFER WATERS - Upon consideration of
                              Defendant Romello Johnson-Holland's "Motion to Continue Due Dates for Motions in
                              Limine, Witness Lists, Exhibits, Voir Dire, Points for Charge, and to Continue Pretrial
                              Conference and Trial" (ECF No. 562 ), IT IS HEREBY ORDERED as follows: Trial in
                              this matter is scheduled to begin on 3/14/2022. The Pretrial Conference shall be held
                              on 2/17/2022, at 1:00 p.m. The time from 12/6/2021 through 3/14/2022 is deemed
                              excludable delay under the Speedy Trial Act, and as more fully stated in said Amended
                              Pretrial Order. Signed by Judge Kim R. Gibson on 12/6/2021. (dlg) (Entered:
                              12/06/2021)
  12/08/2021              572 Letter(s) in Support of Defendant re Sentencing as to TAMIR WASHINGTON-
                              JENKINS (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                              Exhibit 5) (Schorr, R.) (Entered: 12/08/2021)
  12/13/2021              573 TENTATIVE FINDINGS AND RULINGS as to TAMIR WASHINGTON-JENKINS.
                              Signed by Judge Kim R. Gibson on 12/12/2021. (dlg) (Entered: 12/13/2021)
  12/14/2021              574 Minute Entry for proceedings held before Judge Kim R. Gibson: Sentencing held on
                              12/13/2021 for TAMIR WASHINGTON-JENKINS (18), Defendant is sentenced at the
                              Lesser Included Offense at Count One and at Count 2 as follows: Defendant is
                              committed to the custody of the Federal Bureau of Prisons to be imprisoned for a term
                              of 27 months at Count One and 27 months at Count Two, to be served concurrently.
                              Upon release from imprisonment, the Defendant shall be on supervised release for a
                              term of 3 years at Count One and 3 years at Count Two, to be served concurrently. Said
                              term of supervised release comes with standard and special conditions of supervision,
                              as more fully stated in the Judgment. Defendant shall pay to the United States a
                              Special Assessment of $200, which shall be paid to the United States District Court
                              Clerk forthwith. The Court will permit the Defendant to remain on bond pending his
                              designation by the Bureau of Prisons. Appeal rights given. (Court Reporter: Debbie
                              Betzler) (dlg) (Entered: 12/14/2021)
  12/14/2021              575 JUDGMENT as to TAMIR WASHINGTON-JENKINS (18) - Defendant is sentenced
                              at the Lesser Included Offense at Count One and at Count 2 as follows: Defendant is
                              committed to the custody of the Federal Bureau of Prisons to be imprisoned for a term
                              of 27 months at Count One and 27 months at Count Two, to be served concurrently.
                              Upon release from imprisonment, the Defendant shall be on supervised release for a
                              term of 3 years at Count One and 3 years at Count Two, to be served concurrently. Said
                              term of supervised release comes with standard and special conditions of supervision,
                              as more fully stated in the Judgment. Defendant shall pay to the United States a
                              Special Assessment of $200, which shall be paid to the United States District Court
                              Clerk forthwith. Signed by Judge Kim R. Gibson on 12/14/2021. (dlg) (Entered:
                              12/14/2021)
  12/30/2021                      NOTICE TO SELF-SURRENDER as to TAMIR WASHINGTON-JENKINS by US
                                  Marshal. PRETRIAL SERVICES IS TO NOTIFY TAMIR WASHINGTON-
                                  JENKINS AS SOON AS POSSIBLE. This notice is to advise TAMIR
                                  WASHINGTON-JENKINS that you are to report to LEWISBURG SATELLITE
                                  CAMP (LEWC) on 01/31/2022 before 2:00 PM for voluntary surrender commitment.
                                  Your USMS Number is 01860-509. Please go to Bureau of Prisons website at
                                  www.bop.gov or call the institution for directions and other information. If an
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                              extension has been granted beyond the surrender date by the Court, please contact the
                              US Marshal's Office immediately with a copy of the Order of Court indicating a new
                              date. If travel to the designated facility is needed, please petition the Court for other
                              resources available. TAMIR WASHINGTON-JENKINS is instructed to report directly
                              to the designated institution. TAMIR WASHINGTON-JENKINS is NOT to report
                              directly to a USMS office unless otherwise instructed. Text-only entry. No PDF
                              document will issue. This text-only entry constitutes the Order of the Court or Notice
                              on the matter. (Krapp, Kristine) (Entered: 12/30/2021)
  02/10/2022              629 AMENDED PRETRIAL ORDER (JURY TRIAL) as to JELAHN WILLIAMS,
                              MALIK BYERS, AHMED DOUMBIA, DAYTON MELTON, ROMELLO
                              JOHNSON-HOLLAND, ISAIAH DANIELS-WHEELER, ELLEN BLYSTONE,
                              ADAM DRYLIE, JAMES EDWARDS, HAYLEE JACKSON, JOY MCBRIDE,
                              ROGER MILLER, MICHELE MONFREDI, GREGORY MOORE, KARL
                              POLLARD, MICHAEL SCHRECENGOST, TAYLOR SHICK, TAMIR
                              WASHINGTON-JENKINS, CHRISTOFER WATERS - Upon consideration of
                              Defendant Michele Monfredi's Motion to Continue Trial and Pretrial Conference (ECF
                              No. 623 ), IT IS HEREBY ORDERED as follows: Trial in this matter is scheduled to
                              begin on 4/18/2022. The pretrial conference shall be held on 3/17/2022, at 11:00 a.m.
                              The time from 2/10/2022 through 4/18/2022 is deemed excludable delay under the
                              Speedy Trial Act, and as more fully stated in said Amended Pretrial Order. Signed by
                              Judge Kim R. Gibson on 2/10/2022. (dlg) (Entered: 02/10/2022)
  11/03/2022                      NOTICE Cancelling Hearing: Pretrial Conference scheduled for 11/4/2022 is cancelled
                                  and will be rescheduled by later Order of Court. Text-only entry. No PDF document
                                  will issue. This text-only entry constitutes the Order of the Court or Notice on the
                                  matter. (dlg) (Entered: 11/03/2022)




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                                         Brandy S. Lonchena

                                            Karen Sawdy
                                             Deputy Clerk
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      Karen Sawdy
       Deputy Clerk
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